              Case 23-03141 Document 369-15 Filed in TXSB on 12/06/24 Page 1 of 3


T. Michael Ballases

From:                               Mario Rios < Mario_Rios@txs.uscourts.gov>
Sent:                               Friday, September 1, 2023 1:22 PM
To:                                 ecf@thepopelawfirm.com
Cc:                                 T. Michael Ballases
Subject:                            23-03141 Quinlan et al v. Jetall Companies, Inc Et al



   Caution! This message was sent from outside your organization.



M r. Pope,

Please ask your client to consult with you regarding matters on any of his cases.

Just a few minutes ago he called asking me for an emergency hearing or phone call with the Court.
That is inappropriate.

He was also argumentative as to why the Court held a hearing this morning (on a different case mind you) and why he
couldn't get one .
He said you requested a hearing, I told him I have not heard from you by email or call.

Again that is very inappropriate.




                                                      Sincerely,
                                                    Mario A. Rios
                               Case Manager for the Honorable Judge Jeffrey P Norman
                                     United States District and Bankruptcy Courts
                                              Southern District of Texas
                                               515 Rusk St., Ste., 4505
                                                 Houston, TX 77002
                                                Direct: 713-250-5393




        Ex. AA-16
              Case 23-03141 Document 369-15 Filed in TXSB on 12/06/24 Page 2 of 3


T. Michael Ballases

From:                               James Q. Pope <jamesp@thepopelawfirm.com >
Sent:                               Friday, September 1, 2023 2:19 PM
To:                                 Mario Rios
Cc:                                 T. Michael Ballases
Subject:                            23-03141 Quinlan et al v. Jetall Companies, Inc Et al




   Caution! This message was sent from outside your organization.                           Allow sender   Block sP.nder



Mario,

My apologies Mario. I was unaware that he called, until I received your message. My
client really wants a hearing concerning removal/remand of the 23-03190 case, and it
appears that he called before we had a chance to respond or request a hearing .

I have talked with him about his behavior and advised that it must not happen again.

James Q. Pope
Attorney at Law
The Pope Law Firm
6161 Savoy, Suite 1125
Houston, Texas 77036
PH: 713-449-4481
FX: 281-657-9693

CONFIDENTIALITY /PRIVILEGE NOTICE: The information in this email may be
confidential and/or privileged. This email is intended to be reviewed by only the
individual or organization named above. If you are not the intended recipient or an
authorized representative of the intended recipient, you are hereby notified that any
review, dissemination or copying of this email and/or its attachments, if any, or the
information contained herein is strictly prohibited . If you have received this email in
error, please immediately notify the sender by return email aoo delete this email from
your system. Thank You.


On Friday, September 1, 2023 at 01:21:53 PM CDT, Mario Rios <mario_rios@txs.uscourts .gov> wrote:




Mr. Pope,




Please ask your cl ient to consult with you regarding matters on any of his cases .




        Ex. AA-16
              Case 23-03141 Document 369-15 Filed in TXSB on 12/06/24 Page 3 of 3
Just a few minutes ago he called asking me for an emergency hearing or phone call with the Court.

That is inappropriate.




He was also argumentative as to why the Court held a hearing this morning (on a different case mind you) and why he
couldn 't get one.

He said you requested a hearing, I told him I have not heard from you by email or call.




                                               Sincerely,
                                              Mario A. Rios
                         Case Manager for the Honorable Judge Jeffrey P Norman
                              United States District and Bankruptcy Courts
                                       Southern District of Texas
                                         515 Rusk St., Ste., 4505
                                           Houston, TX 77002
                                          Direct: 713-250-5393




                                                            2

       Ex. AA-16
